      Case 3:10-cr-00161-JLS                       Document 99                Filed 04/01/11               PageID.251              Page 1 of 4


    Ill>.A0245B   (Rev, 9/00) Judgment in a Criminal Case                                                                      FILED
                  Sheet 1
                                                                                                                             APt< - I £Ull
                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                             ,
                                                                                                                    soJi.\:ffRIij ~TR'~cWC~RNIA
                                                                                                                    BY                     DEPUTV
                    UNITED STATES OF AMERICA                                       JUDGMENT IN~ACRIMINAL CASE
                                        v.                                         (For Offenses Commit~~d'tiii c)rAfte'r November 1,1987)

                     GERALD JOHN BRETADO (2),                                      Case Number: IOCROI61-JLS
                             aka Bubba
                                                                                   STEPHEN EDWARD HOFFMAN
                                                                                   Defendant's Attorney
    REGISTRATIOS SO. 19191298

    D
    THE DEFENDANT:
    I8J pleaded guilty to count(s)            ONE OF THE INDICTMENT

    o     was found guilty on count(s)
          after a plea of not guilty.
          Accordingly, the detendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 841(a)(l) & 846               CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                                    1




              The defendant is sentenced as provided in pages 2 through _ _
                                                                          4 _ _ ofthisjudgment. The sentence is imposed pursuant
       to the Sentencing Reform Act of 1984.
   D The defendant has been found not guilty on count(s)
   D Count(s) _ _ _ _ _ _ _ _ _ _ _ __                                            is   0 areD dismissed on the motion of the United States.
   1251 Assessment: $100.00 IMPOSED
   181 Fine waived                                   o Property forfeited pursuant to order filed - - - - - - included herein.
              IT IS ORDERED that the defendant shall notifY the United States attorney tor this district within 30 days of any change of name, residence,
       or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
       defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                       MARCH 18,2011
                                                                                   Date of Imposition of Sentence




                                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                                                IOCR0161-JLS
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